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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Arizona Alliance for Retired Americans et al.,       No. CV-22-01823-PHX-MTL
10                  Plaintiffs,                           TEMPORARY
                                                          RESTRAINING ORDER
11   v.
12   Clean Elections USA, et al.,
13                  Defendants.
14
15          For the reasons stated on the record,
16          IT IS ORDERED granting the parties’ stipulated restraining order:

17                                Stipulated Temporary Restraining Order
18          1.     Defendants, their officers, agents, servants, employees, and attorneys, and

19   other persons in active concert or participation with them are RESTRAINED from

20   engaging themselves or training, organizing, encouraging, or directing others to, while
21   monitoring drop boxes:
22                 a.        Intentionally enter within 75 feet of (i) a ballot drop box or (ii) the

23   entrance to a building where a drop box is located.

24                 b.        Intentionally follow individuals delivering ballots to the drop box

25   when such individuals are not within 75 feet of a drop box.

26                 c.        Unless spoken to or yelled at first, speak to or yell at an individual
27   who that Defendant knows is (i) returning ballots to the drop box, and (ii) who is within 75
28   feet of the drop box.
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 1                 d.     (i) Openly carry firearms within 250 feet of a ballot drop box or (ii)
 2   visibly wear body armor within 250 feet of a ballot drop box. But Defendants shall not be
 3   in breach of this order if they accidentally and unknowingly reveal a concealed firearm or
 4   concealed body armor.
 5          2.     Defendants shall, within 24 hours of the date of this order, post the following
 6   in a conspicuous place on Clean Elections USA’s website and on the Truth Social page,
 7   @TrumperMel, and leave it posted through the close of voting on Election Day 2022:
 8                 a.     “It is not always illegal to deposit multiple ballots in a ballot drop box.
 9   It is legal to deposit the ballot of a family member, household member, or person for whom
10   you are the caregiver. Here are the rules for ballot drop boxes by which I ask you to abide:”
11                 b.     The preceding statement shall be followed by a copy of the entire
12   statutory text of Arizona Revised Statutes § 16-1005 or link thereto.
13                 c.     A copy of this temporary restraining order or a link to this temporary
14   restraining order.
15          3.     The preceding shall not prohibit Clean Elections USA from changing its
16   name or the domain of its website pursuant to an agreement with Clean Elections, provided
17   that any new website of Clean Elections USA posts the same through the close of voting
18   on Election Day 2022.
19          4.     Defendant Melody Jennings shall post on the Truth Social page,
20   @TrumperMel, the following statement, and leave it posted through the close of voting on
21   Election Day 2022: “Any past statement that it is always illegal to deposit multiple ballots
22   in a ballot drop box is incomplete; a family member, household member, or caregiver can
23   legally do so,” along with a copy of the entire pertinent statutory text of Arizona Revised
24   Statutes § 16-1005 or a link thereto and a copy of or link to this order.
25          5.     Defendants’ agreement to the entry of this partial order shall not be construed
26   as an admission by Defendants that they have engaged in any of the activities this order
27   prohibits or an admission by Defendants that any of those activities would be contrary to
28   the law.


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 1          6.     No person who has notice of this order shall fail to comply with it, nor shall
 2   any person subvert the order by sham, indirection, or other artifice.
 3          7.     This order applies to Defendants, their officers, agents, servants, employees,
 4   and attorneys, and other persons in active concert or participation with them.
 5   Notwithstanding that, Defendants shall not be held liable or in contempt based solely on a
 6   violation of this order by persons over whom Defendants do not have actual control.
 7          8.     This restraining order will go into effect immediately and shall remain in
 8   effect for fourteen days.
 9          IT IS FURTHER ORDERED that the Court enters the following temporary
10   restraining order proposed by Plaintiffs and contested by Defendants:
11                                    Temporary Restraining Order
12          1.     Defendants, their officers, agents, servants, employees, and attorneys, and
13   other persons in active concert or participation with them are RESTRAINED from
14   engaging themselves or training, organizing, encouraging, or directing others to:
15                 a.        In connection with any specific claim that individuals committed
16   voter fraud based solely on the fact that they deposited multiple ballots in a drop box, post
17   online or otherwise disseminate images or recordings of, or personal information about,
18   individuals who return ballots to a drop box, including but not limited to information about
19   the individuals’ identity, their distinguishing features, their license plate number, model
20   and make of car, and/or similar information; or
21                 b.        Take photos of or otherwise record individuals who are within 75 feet
22   of a ballot drop box.
23          2.     Defendants shall cease and desist making false statements about Arizona
24   Revised Statutes § 16-1005 immediately through the close of voting on Election Day 2022.
25          3.     This restraining order will go into effect immediately and shall remain in
26   effect for fourteen days.
27          IT IS FINALLY ORDERED waiving the bond requirement.
28   ///


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 1       Dated this 1st day of November, 2022.
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